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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                             SOUTH BEND DIVISION

  GARRY EARL SHIDLER,                    )
                                         )
                     Plaintiff,          )
                                         )     CAUSE NO. 3:05-CV-804 AS
        v.                               )
                                         )
  ROBERT MOORE, et al.                   )
                                         )
                     Defendants.         )

                                  OPINION AND ORDER

        Garry Earl Shidler, a pro se prisoner, submitted an amended complaint

  under 42 U.S.C. § 1983. Pursuant to 28 U.S.C. § 1915A, the court must review

  the merits of a prisoner complaint and dismiss it if the action is frivolous or

  malicious, fails to state a claim upon which relief may be granted, or seeks

  monetary relief against a defendant who is immune from such relief. FED . R. CIV .

  PRO . 12(b)(6) provides for the dismissal of a complaint, or any portion of a

  complaint, for failure to state a claim upon which relief can be granted. Courts

  apply the same standard under § 1915A as when addressing a motion under Rule

  12(b)(6). Weiss v. Colley, 230 F.3d 1027 (7th Cir. 2000).

        A claim may be dismissed only if it appears beyond doubt that the
        plaintiff can prove no set of facts in support of his claim which would
        entitle him to relief. Allegations of a pro se complaint are held to less
        stringent standards than formal pleadings drafted by lawyers.
        Accordingly, pro se complaints are liberally construed.

               In order to state a cause of action under 42 U.S.C. § 1983, the
        Supreme Court requires only two elements: First, the plaintiff must
        allege that some person has deprived him of a federal right. Second,
        he must allege that the person who has deprived him of the right
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        acted under color of state law. These elements may be put forth in
        a short and plain statement of the claim showing that the pleader is
        entitled to relief. FED . R. CIV . P. 8(a)(2). In reviewing the complaint on
        a motion to dismiss, no more is required from plaintiff's allegations
        of intent than what would satisfy Rule 8's notice pleading minimum
        and Rule 9(b)'s requirement that motive and intent be pleaded
        generally.

  Alvarado v. Litscher, 267 F.3d 648, 651 (7th Cir. 2001) (citations, quotation marks

  and ellipsis omitted).

                                 I. LEGAL STANDARDS

        Mr. Shidler states that he is a Sunni Muslim and that various defendants

  prevented him from practicing his religion. He alleges that these acts violated his

  rights under the First and Fourteenth Amendments as well as the Religious Land

  Use and Institutionalized Persons Act (RLUIPA), 42 U.S.C. § 2000cc-1(a).

                                  A. First Amendment

        Under the First Amendment, prisoners “retain the right to practice their

  religion to the extent that such practice is compatible with the legitimate

  penological demands of the state.” Al-Alamin v. Gramley, 926 F.2d 680, 686 (7th

  Cir. 1991). A prison regulation or policy that might otherwise unconstitutionally

  impinge on an inmate’s First Amendment rights will survive a challenge if it is

  reasonably related to legitimate penological interests. See Turner v. Safley, 482

  U.S. 78, 89 (1987) and O’Lone v. Estate of Shabazz, 482 U.S. 342, 353 (1987).

  “[T]he prison is entitled to curtail these rights to the extent necessary to protect

  security.” Johnson-Bey v. Lane, 863 F.2d 1308, 1310 (7th Cir. 1988).


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        Prison administrators should be accorded wide-ranging deference in
        the adoption and execution of policies and practices that in their
        judgment are needed to preserve internal order and discipline and to
        maintain institutional security.

  Whitley v. Albers, 475 U.S. 312, 321-322 (1986) (citations, ellipsis, and quotation

  marks omitted). “The ‘free’ exercise of religion thus is rather a misnomer in the

  prison setting.” Johnson-Bey v. Lane, 863 F.2d 1308, 1310 (7th Cir. 1988).

                             B. Fourteenth Amendment

        The    Fourteenth    Amendment         equal   protection   clause    prohibits

  discrimination and requires the evenhanded treatment of all religions.

        In providing [inmates the] opportunity [to practice their religion], the
        efforts of prison administrators, when assessed in their totality, must
        be evenhanded. Prisons cannot discriminate against a particular
        religion. The rights of inmates belonging to minority or non-
        traditional religions must be respected to the same degree as the
        rights of those belonging to larger and more traditional
        denominations. Of course, economic and, at times, security
        constraints may require that the needs of inmates adhering to one
        faith be accommodated differently from those adhering to another.
        Nevertheless, the treatment of all inmates must be qualitatively
        comparable.

  Al-Alamin v. Gramley, 926 F.2d 680, 686 (7th Cir. 1991) (citations omitted).

                                      C. RLUIPA

        The Religious Land Use and Institutionalized Persons Act (RLUIPA) which

  provides that:

                No government shall impose a substantial burden on the
        religious exercise of a person residing in or confined to an institution
        . . . even if the burden results from a rule of general applicability,
        unless the government demonstrates that imposition of the burden
        on that person –

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                     (1) is in furtherance of a compelling governmental
               interest; and
                     (2) is the least restrictive means of furthering that
               compelling governmental interest.

  42 U.S.C. § 2000cc-1(a).

        RLUIPA does not define substantial burden, but in a case interpreting the

  land use provisions of RLUIPA, the Seventh Circuit has stated that

        a substantial burden on religious exercise is one that necessarily
        bears direct, primary, and fundamental responsibility for rendering
        religious exercise . . . effectively impracticable.

  Civil Liberties for Urban Believers v. City of Chicago, 342 F.3d 752, 761 (7th Cir.

  2003). The statute defines religious exercise to “include any exercise of religion,

  whether or not compelled by, or central to, a system of religious belief.” 42 U.S.C.

  § 2000cc-5(7). Nevertheless, a substantial burden may be justified if it is the least

  restrictive means of furthering a compelling governmental interest.

               We do not read RLUIPA to elevate accommodation of religious
        observances over an institution’s need to maintain order and safety.
        Our decisions indicate that an accommodation must be measured so
        that it does not override other significant interests.
               ...
        Lawmakers supporting RLUIPA were mindful of the urgency of
        discipline, order, safety, and security in penal institutions. They
        anticipated that courts would apply the Act’s standard with due
        deference to the experience and expertise of prison and jail
        administrators in establishing necessary regulations and procedures
        to maintain good order, security and discipline, consistent with
        consideration of costs and limited resources.

  Cutter v. Wilkinson, 544 U.S. 709, 722-23 (2005) (citations and quotation marks

  omitted).


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                                  D. Injunctive Relief

        Mr. Shidler seeks injunctive relief as well as monetary compensation. Since

  filing this amended complaint, Mr. Shidler was transferred to the Westville

  Correctional Facility. As a result of that transfer, his injunctive relief claims are

  rendered moot. When “a prisoner is transferred to another prison, his request for

  injunctive relief against officials of the first prison is moot unless he can

  demonstrate that he is likely to be retransferred.” Higgason v. Farley, 83 F.3d 807,

  811 (7th Cir. 1996) (Quotation marks and citations omitted). It is certainly

  possible that he could be transferred back to the Miami Correctional Facility,

  since an inmate can be relocated at any time. See Sandin v. Conner, 515 U.S. 472

  (1995). But the mere possibility of re-transfer is insufficient. The standard to be

  applied here is whether he is “likely to be retransferred”. There is no reasonable

  basis that he is “likely to be retransferred” to the Miami Correctional Facility,

  therefore the injunctive relief claims will be dismissed. Because he states that he

  has included Superintendent John VanNatta solely for the purpose of injunctive

  relief, Superintendent VanNatta will be dismissed as well.

                        E. Compensatory Monetary Damages

              We agree that, absent a showing of physical injury, § 1997e(e)
        would bar a prisoner's recovery of compensatory damages for mental
        and emotional injury. But if that same prisoner alleges some other
        type of non-physical injury, the statute would not foreclose recovery,
        assuming that the damages sought were not "for" any mental or
        emotional injuries suffered. This view is not novel. Indeed, in the
        context of First Amendment claims, we have held explicitly that
        prisoners need not allege a physical injury to recover damages

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        because the deprivation of the constitutional right is itself a
        cognizable injury, regardless of any resulting mental or emotional
        injury. Using a similar rationale, several of our sister circuits have
        concluded that § 1997e(e) does not bar all recovery for violations of
        due process or the right to privacy. These decisions reflect an
        emerging view that § 1997e(e), as the plain language of the statute
        would suggest, limits recovery "for mental and emotional injury," but
        leaves unaffected claims for nominal and punitive damages, which
        seek to remedy a different type of injury.

  Calhoun v. Detella, 319 F.3d 936, 940-41 (7th Cir. 2003) (Quotation marks, square

  brackets, and citations omitted). Therefore, 42 U.S.C. §1997e(e) does not restrict

  recovery for violations of either the First or Fourteenth Amendments, but it does

  limit monetary damages for RLUIPA claims because they are statutory, not

  constitutional claims.

               No Federal civil action may be brought by a prisoner confined
        in a jail, prison, or other correctional facility, for mental or emotional
        injury suffered while in custody without a prior showing of physical
        injury.

  42 USCS § 1997e(e). Therefore monetary damages are unavailable for a RLUIPA

  claim unless the plaintiff can demonstrate physical injury.

                                 F. Nominal Damages

        Where compensatory monetary damages are not available,

             [N]ominal damages, of which $1 is the norm, are an appropriate
        means of vindicating rights whose deprivation has not caused actual,
        provable injury.

  Kyle v. Patterson, 196 F.3d 695, 697 (7th Cir. 1999)

                                 G. Punitive Damages



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        [P]unitive damages are never awarded as a matter of right; the finder
        of fact, after reviewing the entire record, is called upon to make a
        “moral judgment” that the unlawful conduct warrants such an award
        to punish the wrongdoer and deter others. Punitive damages are
        available in § 1983 cases only upon a showing of evil motive or intent,
        or reckless or callous indifference to the federally protected rights of
        others.

  Kyle v. Patterson, 196 F.3d 695, 697-698 (7th Cir. 1999) (quotation marks,

  citations and ellipsis omitted).

                                 H. Declaratory Relief

        “When a claim for injunctive relief is barred but a claim for damages

  remains, a declaratory judgment as a predicate to a damages award can survive.”

  Crue v. Aiken, 370 F.3d 668, 677 (7th Cir. 2004). Here, a declaratory judgment is

  only a predicate to monetary damages for those claims related to prison policies

  which have been subsequently repealed or rendered moot when Mr. Shidler was

  no longer subject to them because he was transferred. “The fact that new

  regulations had been adopted by prison officials subsequent to the factual events

  of this case, does not moot plaintiff's claim for either declaratory or monetary

  relief.” Black v. Brown, 513 F.2d 652, 655 (7th Cir. 1975).

                                      II. CLAIMS

                                     A. Prayer Oil

        Mr. Shidler alleges that Salley Stevenson created and enforced a policy

  prohibiting the use of prayer oil. Giving him the benefit of the inferences to which

  he is entitled at the pleading stage of this proceeding, this states a claim for


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  declaratory relief as well as monetary and punitive damages for a violation of the

  First and Fourteenth Amendments. It also states a claim for declaratory relief as

  well as nominal and punitive damages for a violation of RLUIPA.

        Mr. Shidler alleges that when the prayer oil policy was changed, only one

  type of oil was available and that he was allergic to it. He alleges that Salley

  Stevenson refused to permit him to purchase an alternative to which he was not

  allergic. Giving him the benefit of the inferences to which he is entitled at the

  pleading stage of this proceeding, this states a claim for monetary and punitive

  damages for a violation of the First and Fourteenth Amendments. It also states a

  claim for nominal and punitive damages for a violation of RLUIPA.

                               B. Communal Worship

        Mr. Shidler alleges that Chaplin Babb, Chaplin Leslie, and Chris Johnson

  denied him communal worship while he was housed in the “P”, “L”, “N”, and “E”

  Housing Units even though Christians were permitted communal worship. Giving

  him the benefit of the inferences to which he is entitled at the pleading stage of

  this proceeding, this states a claim for monetary and punitive damages for a

  violation of the First and Fourteenth Amendments. It also states a claim for

  nominal and punitive damages for a violation of RLUIPA.

                                     C. Ramadan

        Mr. Shidler alleges that Chaplin Babb, Chaplin Leslie, and Chris Johnson

  denied him the ability to participate in Ramadan activities. Giving him the benefit


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  of the inferences to which he is entitled at the pleading stage of this proceeding,

  this states a claim for monetary and punitive damages for a violation of the First

  and Fourteenth Amendments. It also states a claim for nominal and punitive

  damages for a violation of RLUIPA.

                      D. Official Record of Religious Preference

        Mr. Shidler alleges that Chaplains Babb and Leslie classified him as a

  Christian for the purpose of preventing him from practicing his religion. Giving

  him the benefit of the inferences to which he is entitled at the pleading stage of

  this proceeding, this states a claim for monetary and punitive damages for a

  violation of the First and Fourteenth Amendments. It also states a claim for

  nominal and punitive damages for a violation of RLUIPA.

                                  E. Religious Name

        Mr. Shidler alleges that Sally Stevenson and Chris Johnson prevented him

  from practicing him religion by enforcing a policy which prohibits him from using

  his religious name on his mail. Mr. Shidler does not allege, and based on this

  complaint it is not reasonable to infer, that he has legally changed his name in an

  Indiana court. Under the First Amendment, a prison is not obligated to accept his

  new name, until he has legally changed it, even if he adopted it for sincere

  religious reasons. Azeez v. Fairman, 795 F.2d 1296 (7th Cir. 1986). Therefore the

  First Amendment claim must be dismissed. Neither has he alleged that members




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  of other religious groups are able to change their names more easily. Therefore the

  Fourteenth Amendment claim must also be dismissed.

        Though knowing the valid names of inmates and keeping track of them are

  clearly compelling governmental interests, it is not clear that requiring a legal

  name change in state court is the least restrictive means of furthering those and

  perhaps other legitimate state interests. Nevertheless, the complaint does not

  allege, and it is not reasonable to infer that the refusal to accept his religious

  name was done with an evil motive or intent. Rather it merely alleges that it was

  done pursuant to a policy which is otherwise facially neutral. Therefore no

  punitive damages claim can be pursued here. Giving him the benefit of the

  inferences to which he is entitled at the pleading stage of this proceeding, these

  allegations state a claim for declaratory relief and nominal damages for a violation

  of RLUIPA.

                                  III. CONCLUSION

        For the foregoing reasons, the court:

        (1) LIFTS the stay imposed by this court’s order of March 24, 2006;

        (2) GRANTS Garry Earl Shidler leave to proceed against Salley Stevenson

  in her individual capacity for declaratory relief as well as monetary and punitive

  damages for violations of the First and Fourteenth Amendments for denying him

  prayer oil;




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         (3) GRANTS Garry Earl Shidler leave to proceed against Salley Stevenson

  in her individual capacity for declaratory relief as well as nominal and punitive

  damages for violations of RLUIPA (42 U.S.C. § 2000cc-1) for denying him prayer

  oil;

         (4) GRANTS Garry Earl Shidler leave to proceed against Salley Stevenson

  in her individual capacity for monetary and punitive damages for violations of the

  First and Fourteenth Amendments for prohibiting him from purchasing prayer oil

  to which he was not allergic;

         (5) GRANTS Garry Earl Shidler leave to proceed against Salley Stevenson

  in her individual capacity for nominal and punitive damages for violations of

  RLUIPA (42 U.S.C. § 2000cc-1) for prohibiting him from purchasing prayer oil to

  which he was not allergic;

         (6) GRANTS Garry Earl Shidler leave to proceed against Chaplin Babb,

  Chaplin Leslie, and Chris Johnson in their individual capacities for monetary and

  punitive damages for violations of the First and Fourteenth Amendments for

  denying him communal worship while he was housed in the “P”, “L”, “N”, and “E”

  Housing Units even though Christians were permitted communal worship;

         (7) GRANTS Garry Earl Shidler leave to proceed against Chaplin Babb,

  Chaplin Leslie, and Chris Johnson in their individual capacities for nominal and

  punitive damages for violations of RLUIPA (42 U.S.C. § 2000cc-1) for denying him




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  communal worship while he was housed in the “P”, “L”, “N”, and “E” Housing

  Units even though Christians were permitted communal worship;

        (8) GRANTS Garry Earl Shidler leave to proceed against Chaplin Babb,

  Chaplin Leslie, and Chris Johnson in their individual capacities for monetary and

  punitive damages for violations of the First and Fourteenth Amendments for

  denying him the ability to participate in Ramadan activities;

        (9) GRANTS Garry Earl Shidler leave to proceed against Chaplin Babb,

  Chaplin Leslie, and Chris Johnson in their individual capacities for nominal and

  punitive damages for violations of RLUIPA (42 U.S.C. § 2000cc-1) for denying him

  the ability to participate in Ramadan activities;

        (10) GRANTS Garry Earl Shidler leave to proceed against Chaplin Babb and

  Chaplin Leslie in their individual capacities for monetary and punitive damages

  for violations of the First and Fourteenth Amendments for classifying him as a

  Christian for the purpose of preventing him from practicing his religion;

        (11) GRANTS Garry Earl Shidler leave to proceed against Chaplin Babb and

  Chaplin Leslie in their individual capacities nominal and punitive damages for

  violations RLUIPA (42 U.S.C. § 2000cc-1) for classifying him as a Christian for the

  purpose of preventing him from practicing his religion;

        (12) GRANTS Garry Earl Shidler leave to proceed against Salley Stevenson

  and Chris Johnson in their individual capacities for declaratory relief and nominal

  damages for violations RLUIPA (42 U.S.C. § 2000cc-1) for preventing him from


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  practicing him religion by enforcing a policy which prohibits him from using his

  religious name on his mail;

           (13) DENIES the requests for injunctive relief (docket # 22);

           (14) DISMISSES all other claims;

           (15) DISMISSES Superintendent John VanNatta;

           (16) DIRECTS the clerk to transmit the summons and USM-285 for Chaplin

  William Babb, Chaplin Leslie, Salley Stevenson, and Chris Johnson to the United

  States Marshals Service along with a copy of this order and a copy of the

  complaint;

           (17) DIRECTS the United States Marshals Service, pursuant to 28 U.S.C.

  § 1915(d), to effect service of process on Chaplin William Babb, Chaplin Leslie,

  Salley Stevenson, and Chris Johnson; and

           (18) ORDERS, pursuant to 42 U.S.C. § 1997e(g)(2), that Chaplin William

  Babb, Chaplin Leslie, Salley Stevenson, and Chris Johnson respond, as provided

  for in the Federal Rules of Civil Procedure and N.D. IND . L.R. 10.1, only to the

  claims for which the plaintiff has been granted leave to proceed in this screening

  order.

           IT IS SO ORDERED.

           ENTERED: August       9   , 2006


                                               S/ ALLEN SHARP
                                          ALLEN SHARP, JUDGE
                                          UNITED STATES DISTRICT COURT

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